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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 JILL BABCOCK, et al.,

                                                               Civil Case No. 22-cv-12951
         Plaintiffs,

 vs.                                                           HON. MARK A. GOLDSMITH

 STATE OF MICHIGAN, et al.,

       Defendants.
 __________________________/

       ORDER GRANTING PLAINTIFFS’ MOTION FOR EXTENSION (Dkt. 74) AND
           AUTHORIZING PLAINTIFFS TO FILE AMENDED COMPLAINT

         Plaintiffs have moved for an extension (Dkt. 74) for the deadline for their response to

 Defendants’ pending motions to dismiss (Dkts. 60, 64, 70, 71, 72).

         The Court authorizes Plaintiffs to amend their complaint by June 23, 2023, pursuant to

 leave now granted. If Plaintiffs file an amended complaint, the Court will deny Defendants’

 motions to dismiss without prejudice.

         If Plaintiffs elect not to file an amended complaint, the Court extends their deadline to file

 a response to Defendants’ motions to dismiss to July 28, 2023. Accordingly, the Court grants

 Plaintiffs’ motion.

         SO ORDERED.


 Dated: June 9, 2023                           s/Mark A. Goldsmith
 Detroit, Michigan                             MARK A. GOLDSMITH
                                               United States District Judge




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